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 6                                  UNITED STATES DISTRICT COURT
 7                                CENTRAL DISTRICT OF CALIFORNIA
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      ROCAWEAR LICENSING, LLC, a New                ) CASE NO. CV 07-00377 MMM (PJWx)
10    Jersey Limited Liability Company; ROC         )
      APPAREL GROUP, LLC, a New York                )
11    Limited Liability Company; and                )
      CHRISTIAN CASEY, LLC, a New York              ) JUDGMENT FOR PLAINTIFFS
12    Limited Liability Corporation d/b/a Sean      )
      John,                                         )
13                                                  )
                          Plaintiffs,               )
14                                                  )
                    vs.                             )
15                                                  )
      BRANCO ENTERPRISES, INC.; JBM                 )
16    INTERNATIONAL, INC.; and JOE                  )
      SOFFER,                                       )
17                                                  )
                          Defendants.               )
18
19          On January 16, 2007, Rocawear Licensing LLC, Roc Apparel Group LLC, and Christian

20   Casey LLC d/b/a Sean John (“plaintiffs”) filed a complaint against Branco Enterprises, Inc., JBM

21   International, Inc., and Joe Soffer. In April 2007, plaintiffs entered into a stipulated settlement

22   with Branco Enterprises, which was dismissed as a defendant.             The clerk entered JBM

23   International’s default on October 27, 2008, and Soffer’s default on November 3, 2008. Plaintiffs

24   then moved for default judgment. In an order dated July 22, 2009, the court granted plaintiffs’

25   motion for default judgment. Accordingly,

26
27          IT IS ORDERED AND ADJUDGED

28          1.     That judgment be entered in favor of plaintiffs Rocawear Licensing, LLC,
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 1              Roc Apparel Group, LLC, and Christian Casey LLC dba Sean John, who
 2              shall recover from defendants JBM International and Joe Soffer (collectively
 3              “defendants”), jointly and severally, $200,000 in statutory damages and
 4              $7,600 in attorneys’ fees.       Plaintiffs shall also recover post-judgment
 5              interest at a rate of 0.48% and costs.
 6        2.    That defendants, their officers, agents, servants and employees and any persons in
 7              active concert or participation with them are permanently enjoined and restrained:
 8              (a)    From using plaintiffs’ respective trademarks or any reproduction,
 9                     counterfeit, copy or colorable imitation of plaintiffs’ respective trademarks
10                     in   connection    with     the   manufacture,     importation,   distribution,
11                     advertisement, offer for sale and/or sale of merchandise that is not plaintiffs’
12                     genuine merchandise;
13              (b)    From passing off, inducing or enabling others to sell or pass off as genuine
14                     any apparel or other items that are not plaintiffs’ genuine merchandise;
15              (c)    From committing any other acts calculated to cause others to believe that
16                     defendant’s counterfeit products are connected with plaintiffs and/or
17                     plaintiffs’ genuine merchandise; and
18              (d)    From shipping, delivering, holding for sale, distributing, or transferring in
19                     any manner items falsely bearing plaintiffs’ respective trademarks, or any
20                     reproduction, counterfeit, copy or colorable imitation of same.
21        3.    That plaintiffs recover their costs of suit herein; and
22        4.    That the action be, and it hereby is, dismissed.
23
24   DATED: July 22, 2009
                                                             MARGARET M. MORROW
25                                                       UNITED STATES DISTRICT JUDGE
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